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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   Richard Feltz and Ashton Lee Dennis, on )
   behalf of themselves and all others similarly )
   situated,                                     )
                                                 )
            Plaintiffs,                          )
   vs.                                           )
                                                 )
   Board of County Commissioners of the          )     Case No. 18-cv-00298-CVE-JFJ
   County of Tulsa; Vic Regalado, Tulsa          )
   County Sheriff, in his official capacity;     )
   Tammy Bruce, Stephen Clark, Julie Doss, )
   Theresa Dreiling, Owen Evans, Mary Ann )
   Godsby, David Guten, Bill Hiddle, Ann         )
   Keele, James Keeley, Deborah Ludi Leitch, )
   Anthony J. Miller, Kevin C. Morrison,         )
   Kirsten Pace, Wilma Palmer, April Seibert, )
   Rodney B. Sparkman, and Tanya Wilson, )
   in their capacities as Tulsa County Special )
   Judges; and William LaFortune, in his         )
   capacity as Presiding Tulsa County District )
   Court Judge,                                  )
                                                 )
            Defendants.                          )



          BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF TULSA’S
                   MOTION TO DISMISS AND BRIEF IN SUPPORT



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    ATTORNEYS FOR DEFENDANT BOARD OF COUNTY COMMISSIONERS OF THE
                          COUNTY OF TULSA
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          Pursuant to Federal Rules of Civil Procedure 12(b)(6) and 21, Defendant, Board of County

   Commissioners of the County of Tulsa (“BOCC”), hereby moves this Court for an order dismissing

   the BOCC from this action. Plaintiffs’ Second Amended Complaint (“SAC”) is devoid of any

   allegation against the BOCC that could provide the basis for liability. Furthermore, the BOCC

   could not be liable for the complained of actions even if Plaintiffs had properly alleged them in

   their SAC as it does not have final authority over the complained of policies, practices, and

   procedures, at issue in this case. Therefore, the BOCC respectfully requests that Plaintiffs’ claims

   against it be dismissed as Plaintiffs failed to state a claim upon which relief can be granted and it

   is an improper party to this suit. In support of its motion, the BOCC submits the following brief:

                                             I.
                                   PRELIMINARY STATEMENT

          Plaintiffs’ claims cannot lie against Tulsa County or any of its officers in their capacity as

   county actors. Plaintiffs complain that the named Defendants, Tulsa County District Court

   Presiding Judge (“Presiding Judge”), the Tulsa County Special Judges, the BOCC, and Tulsa

   County Sheriff Vic Regalado (“Regalado”), violate Plaintiffs’ rights by (1) operating a wealth-

   based detention scheme, and (2) by detaining them without ensuring they receive a prompt due

   process complaint hearing. However, the BOCC does not have authority to cure the alleged

   constitutional violations, nor was it responsible for them.

          In Oklahoma, arrestees are only released from jail by order of a state court judge or by

   satisfying bail conditions set by a state court judge. All bail hearings in Oklahoma are conducted

   by the state court, and all bail determinations are made by state court judges. The BOCC plays no

   role in detaining or releasing arrestees from the Tulsa County Jail. The BOCC plays no role in bail

   hearings or bail determinations. Under Oklahoma law, the BOCC has no oversight responsibilities


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   over the Tulsa County District Court and the District Court is an agency of the State of Oklahoma,

   not Tulsa County.

           Moreover, the Tulsa County Sheriff’s Office is the only county office that exercises control

   over the Tulsa County Jail. The office of county sheriff is created and established by Oklahoma’s

   Constitution and is on par with the office of board of county commissioners (i.e., one does not

   control the other). The BOCC is not responsible for the acts of Regalado or the District Court.

           The SAC is devoid of factual allegations that put the BOCC on notice of what it did

   specifically that led to the Plaintiffs’ alleged harm. Plaintiffs’ use of the plural “Defendants” should

   be ignored as each Defendant has distinct statutory roles. Furthermore, the SAC is bereft of any

   allegation that a policy or custom of the BOCC caused Plaintiffs’ harms. Therefore, Plaintiffs’

   claims against the BOCC should be dismissed with prejudice as Plaintiffs failed to state a claim

   upon which relief can be granted and it is an improper party to this suit.

                                       II.
                    SUMMARY OF THE SECOND AMENDED COMPLAINT

           Plaintiffs seek prospective declaratory and injunctive relief under 42 U.S.C. § 1983 against

   a number of state court judges and the County Defendants based on allegations that “Defendants”

   impose – absent eleven (11) constitutionally required procedural safeguards – secured money bail

   as a condition of release on arrestees who are unable to pay such bail awaiting trial. Dkt. # 259, at

   ¶¶ 17-22, 24-26, 28-34, 37, 45-50, 53-74, 87-105, 116, 124-25, 137-41. It is alleged that

   Plaintiffs/arrestees Richard Feltz, Ashton Lee Dennis, and the putative class members cannot

   afford to make bail, and that the imposition of money bail under such circumstances is

   unconstitutional. Id. at ¶¶ 6, 26, 29, 34, 69-73, 117. Plaintiffs request an order enjoining the County

   Defendants and the Presiding Judge from detaining any arrestee in the county jail unable to pay


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   his or her secured bail amount unless: (1) he or she is given a speedy, (2) individualized bail

   determination hearing that (3) includes a due process complaint inquiry into and (4) findings

   concerning a person’s ability to pay, (5) consideration of and (6) findings concerning alternatives

   to secured financial conditions of release, (7) preceded by sufficient notice of the matters to be

   determined, (8) accompanied by appointment of counsel, (9) with the opportunity to be heard and

   to confront evidence, and (10) findings concerning the necessity of detention, i.e., prior to entering

   a pretrial detention order, which includes orders imposing secured financial conditions of release

   on a detainee unable to pay such amount, findings on the record that the government has met its

   burden to demonstrate that no alternative condition or combination of conditions would be

   sufficient to serve its compelling interests, with (11) such proof to be by clear and convincing

   evidence. Id. at ¶ 141. Plaintiffs also request an order declaring the judicial practices in place at

   the time of Plaintiffs pretrial detention unconstitutional, and the above-referenced eleven (11)

   procedural safeguards constitutionally required. Id.

          Plaintiffs’ specific allegations against the Presiding Judge and other state court special

   judges differ significantly from their particular allegations against the BOCC. Plaintiffs expressly

   allege that one (1) or more defendant judges of the Fourteenth Judicial District of the State of

   Oklahoma are responsible for promulgating the secured money bail schedule (id. at ¶¶ 19-22, 55),

   making individual bail determinations (id. at ¶¶ 19, 37, 41, 58-59, 64), promulgating court rules

   governing bail (id. at ¶ 22, 35-38, 53-67), and implementing the eleven (11) procedural safeguards

   articulated by Plaintiffs. Id. at ¶¶ 19-22, 24-26, 28-34, 37, 45-50, 53-74, 87-105, 116, 124-25, 137-

   41.

          Conversely, Plaintiffs specifically allege that:

          The Tulsa County Board maintains policies of jailing people who are unable to pay

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           generic money bail amounts, usually predetermined by the County’s bail schedule.
           The Tulsa County Board also maintains a policy of delaying the appointment of
           counsel for people who are unable to pay generic money bail amounts and denying
           counsel at legal proceedings where pretrial release and pretrial detention
           determinations are made.

   Id. at ¶ 17. However, the rest of the SAC is devoid of any facts to support these allegations. The

   SAC only contains one (1) other factual allegation that specifically mentions the BOCC: “[t]he

   Tulsa County Board operates and administers a pretrial release program that is run by Tulsa County

   Court Services. The pretrial release program is one of only two forms of non-financial pretrial

   release used in Tulsa County, the other being personal recognizance release.” Id. at ¶ 84.

           The SAC includes a few generalized mentions of Tulsa County as a governmental entity.

   Id. at ¶¶ 3, 12, 54, 83, 85.

                                              III.
                                       STANDARD OF REVIEW

           A motion to dismiss under Rule 12(b)(6) should be granted when, as here, a complaint fails

   to make allegations sufficient to support a right to relief. “Factual allegations must be enough to

   raise a right to relief above the speculative level . . . .” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

   555 (2007). “When there are well-pleaded factual allegations, a court should assume their veracity

   and then determine whether they plausibly give rise to an entitlement to relief,” but a complaint

   must “contain enough facts to state a claim for relief that is plausible on its face.” Allen v. Town of

   Colcord, 874 F. Supp. 2d 1276, 1282 (N.D. Okla. 2012) (citation and quotation omitted). “Mere

   ‘labels and conclusions’ and ‘a formulaic recitation of the elements of a cause of action’ are

   insufficient.” The Estate of Lockett by & through Lockett v. Fallin, 841 F.3d 1098, 1107 (10th Cir.

   2016). “Accordingly, in examining a complaint under Rule 12(b)(6), [the court] will disregard

   conclusory statements and look only to whether the remaining, factual allegations plausibly


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   suggest the defendant is liable.” Khalik v. United Air Lines, 671 F.3d 1188, 1191 (10th Cir. 2012).

          Under Rule 21, the Court may drop an improper party upon motion or sua sponte.

                                           IV.
                                ARGUMENTS AND AUTHORITIES

          The Civil Rights Act of 1871 is a federal statute, numbered 42 U.S.C. § 1983, that provides

   a remedy to someone deprived of his or her constitutional rights by a person acting under color of

   state law. Section 1983 proclaims:

          Every person who, under color of any statute, ordinance, regulation, custom, or
          usage, of any State or Territory or the District of Columbia, subjects, or causes to
          be subjected, any citizen of the United States or other person within the jurisdiction
          thereof to the deprivation of any rights, privileges, or immunities secured by the
          Constitution and laws, shall be liable to the party injured in an action at law, suit in
          equity, or other proper proceeding for redress . . . .

   (Emphasis added). A local municipality that is not considered part of the state for Eleventh

   Amendment purposes, thus, a county, is a “person” for purposes of § 1983 liability. Monell v.

   Dep't of Soc. Servs. of City of New York, 436 U.S. 658, 690 n.54 (1978); Bd. of Cty. Comm'rs of

   Bryan Cty., Okl. v. Brown, 520 U.S. 397, 403 (1997). In Monell, 436 U.S. at 689, and subsequent

   cases, the United States Supreme Court has “required a plaintiff seeking to impose liability on a

   municipality under § 1983 to identify a municipal ‘policy’ or ‘custom’ that caused the plaintiff’s

   injury.” Brown, 520 U.S. at 403 (citing Pembaur v. Cincinnati, 475 U.S. 469, 480–481 (1986);

   Canton v. Harris, 489 U.S. 378, 389 (1989). Assuming that a constitutional deprivation took

   place, 1 municipal liability exists under Section 1983 only when “execution of a municipal policy



   1
    Plaintiffs allege a deprivation of their right to equal protection and due process by jailing them
   (i.e., not releasing them following probable cause for their arrest and detention) because they
   cannot afford a monetary payment, and a deprivation of their right to pretrial liberty by jailing
   them (i.e., not releasing them following probable cause for their arrest and detention) without
   procedural due process. See id. at ¶¶ 137, 140.

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   inflict[s] the [constitutional] injury.” Collins v. City of Harker Heights, Tex., 503 U.S. 115, 122

   (1992). To hold the municipality liable under Section 1983, “plaintiff must show not only that a

   constitutional violation occurred, but also that some municipal policy or custom was the moving

   force behind the violation.” Myers v. Oklahoma County Bd. of County Comm’rs, 151 F.3d 1313,

   1320 (10th Cir. 1998). Monell’s “policy or custom” requirement applies to § 1983 claims against

   a municipality for prospective declaratory or injunctive relief. Los Angeles Cty., Cal. v. Humphries,

   562 U.S. 29, 39 (2010).

           “Locating a ‘policy’ ensures that a municipality is held liable only for those deprivations

   resulting from the decisions of its duly constituted legislative body or of those officials whose acts

   may fairly be said to be those of the municipality.” Brown, 520 U.S. at 403-04. “[M]unicipal

   liability under § 1983 attaches where—and only where—a deliberate choice to follow a course of

   action is made from among various alternatives by the official or officials responsible for

   establishing final policy with respect to the subject matter in question.” Pembaur, 475 U.S. at 483-

   84 (citing City of Oklahoma City v. Tuttle, 471 U.S. 808, 823 (1985)). “A challenged practice may

   be deemed an official policy or custom for § 1983 municipal-liability purposes if it is a formally

   promulgated policy, a well-settled custom or practice, a final decision by a municipal policymaker,

   or deliberately indifferent training or supervision.” Schneider v. Grand Junction Police Dep’t, 717

   F.3d 760, 770 (10th Cir. 2013).

          “In a series of cases, the Supreme Court has consistently held that the question of who is a

   final policymaker for purposes of attributing liability to a government entity under § 1983 is a

   question of state law.” Karen M. Blum, “Support Your Local Sheriff: Suing Sheriffs Under §

   1983,” 34 Stetson L. Rev. 623, 630 n.46 (Spring 2005) (citing Jett v. Dallas Indep. Sch. Dist., 491

   U.S. 701 (1989); City of St. Louis v. Praprotnik, 485 U.S. 112 (1988); Pembaur v. City of

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   Cincinnati, 475 U.S. 469 (1986)).

          The States have extremely wide latitude in determining the form that local
          government takes, and local preferences have led to a profusion of distinct forms. .
          . . Without attempting to canvass the numberless factual scenarios that may come
          to light in litigation, we can be confident that state law (which may include valid
          local ordinances and regulations) will always direct a court to some official or body
          that has the responsibility for making law or setting policy in any given area of a
          local government’s business. . . . [A] federal court would not be justified in
          assuming that municipal policymaking authority lies somewhere other than where
          the applicable law purports to put it.

   Praprotnik, 485 U.S. at 124-25 (emphasis added).

      A. PLAINTIFFS FAILED TO STATE A CLAIM AGAINST THE BOCC

          Plaintiffs’ allegations in their SAC against the BOCC are scarce and lack factual support.

   Plaintiffs’ use of the plural word, “Defendants,” in several paragraphs of their pleading overly

   blame everyone for a generalized scheme of wealth-based detention, and in doing so, fail to

   articulate sufficient facts to place the BOCC on proper notice of the grounds for Plaintiffs’ claims

   against it. See id. at ¶¶ 3-7, 9-10, 12, 35, 51-52, 59, 74, 76, 80, 86, 113, 117, 122-26, 129-30, 133-

   135, 137, 140. Each defendant is entitled to fair notice of each claim asserted and the factual basis

   for such claim. See Robbins v. Okla., 519 F.3d 1242, 1248 (10th Cir. 2008). “[I]n multiparty

   litigation, ‘the Federal Rules do not permit a party to aggregate allegations against several

   defendants in a single, unspecific statement, but instead require the pleader to identify (albeit

   generally) the conduct of each defendant giving rise to [his] claims.’” Jamison v. City of Forsyth,

   Georgia, No. 506-CV-399 CAR, 2007 WL 1231663, *1 (M.D. Ga. April 26, 2007) (citing Parker

   v. Brush Wellman, 377 F.Supp.2d 1290, 1294 (N.D. Ga. 2005); see also Tonkovich v. Kan. Bd. of

   Regents, 159 F.3d 504, 532–33 (10th Cir. 1998); Gray v. University of Colorado Hospital

   Authority, 672 F.3d 909, 921 n.9 (10th Cir. 2012).

          Here, Plaintiffs’ generalized allegations against all Defendants, plural, should be ignored

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   or understood in the context of their particularized factual allegations as to the separate roles played

   by the state court judges, the BOCC, and Regalado.

           Importantly, in Oklahoma “[c]ounties have only such authority as is granted by statute[,

   and p]ublic officers possess only such authority as is conferred upon them by law and such

   authority must be exercised in the manner provided by law.” Tulsa Exposition & Fair Corp. v.

   Board of County Comm’rs, 1970 OK 67, ¶ 26, 468 P.2d 501, 507-08 (citations omitted). Under

   Oklahoma law, the BOCC is responsible for, among other things, buying and selling real estate,

   highway maintenance, contracting on behalf of the county, etc. See 19 O.S. § 339 (general powers

   and duties of the board of county commissioners).

           The BOCC’s authority is prescribed by statute—none of which grant it the authority to

   detain arrestees, set bail procedure, act as a special or state district court judge, grant bail hearings,

   appoint or deny counsel, or sit in judgment of judicial actions. See 19 O.S. §§ 321-460.7. Plaintiffs

   do not allege that the BOCC adopted by majority vote in an open public meeting a formal policy

   of wealth-based detention that jails people unable to make bail. See Dkt. # 259; see also 19 O.S.

   §§ 326-29, and 25 O.S. §§ 301-14. In fact, Plaintiffs allege that the policy of “wealth-based

   detention” is a policy promulgated and implemented by the state court judiciary. See Dkt. # 259,

   at ¶¶ 19-20, 22 37, 55, 58-59, 64.

           Plaintiffs’ specific allegation, that the BOCC “operates and administers a pretrial release

   program that is run by Tulsa County Court Services,” Id. at ¶ 84, is likewise insufficient to

   establish liability against the BOCC. State law does indeed authorize the BOCC to “establish and

   fund a pretrial program” to facilitate the release of people who have committed all but a handful

   of serious offenses and, for all other people, allows release with or without secured money bail

   by order of a judge under any “conditions prescribed by the judge.” 22 O.S. § 1105.3.

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            While the BOCC may establish and fund a pretrial program to evaluate pretrial detainees

    for the purpose of making recommendations to the court for their release, its recommendations

    in this regard are either approved or rejected by a district court judge or magistrate who at all

    times is the final decision-maker regarding a pretrial detainee’s release from jail. Id. The BOCC

    does not control or manage the program. The pretrial release program is “to be utilized by the

    district court,” not the county. Id. No one is arrested or detained for violating a county law and

    there are no county courts in Oklahoma. Moreover, the SAC is devoid of any allegation stating

    how the BOCC’s funding of the pretrial release program caused the alleged constitutional

    deprivation.

            The foregoing allegations against the BOCC are the sort of conclusory formulaic

    assertions which the Supreme Court found “disentitles them to the presumption of truth.”

    Ashcroft v. Iqbal, 556 U.S. 662, 680-81 (2009); see also Patillo v. Larned State Hosp., 462 F.

    App'x 780, 783 (10th Cir. 2012). Since the BOCC does not detain anyone, with or without a bail

    hearing, had no involvement in the establishment or administration of local bail procedures or

    hearings, and, in fact, operates a pretrial release program; the BOCC is not liable for causing

    Plaintiffs’ asserted injury. Therefore, Plaintiffs have failed to state a claim for municipal liability

    as no policy or custom of the BOCC caused any of the Plaintiffs’ alleged harms.

            Furthermore, if the BOCC did as Plaintiffs allege 2—operate a wealth based detention

    scheme without due process—it has exceeded its statutory authority and committed an ultra vires

    act. “Public officials performing acts which exceed their authority may not bind a public

    entity. Rather, they lack authority to expand their powers and are bound by mandatory law.”



    2
     See Dkt. # 259, at ¶¶ 3-7, 9-10, 12, 17, 35, 51-52, 59, 74, 76, 80, 86, 113, 117, 122-26, 129-30,
    133-135, 137, 140.
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    Strong v. State ex rel. The Oklahoma Police Pension & Ret. Bd., 2005 OK 45, ¶ 9, 115 P.3d 889,

    893. If Plaintiffs’ allegations are taken as true, those actions cannot bind Tulsa County because the

    BOCC had no authority to do so. Thus, Plaintiffs have failed to state a claim against the BOCC.

       B. STATE JUDGES ARE THE ONLY OFFICIALS WITH THE AUTHORITY TO
          RELEASE AN ARRESTEE FROM A COUNTY JAIL

           State law and local court rules vest exclusive authority in the state judiciary regarding the

       terms and conditions of an arrestee’s release from jail. See 22 O.S. § 1105.3(B). The BOCC

       hereby adopts and incorporates the argument contained in Section IV.B of Regalado’s Motion

       to Dismiss, Dkt. # 272.

           1. The BOCC is not Responsible for the Actions of State Court Judges

           In Oklahoma, each district court is an agency of the State of Oklahoma, specifically, its

    judicial branch. The District Court of the State of Oklahoma in Tulsa County is a branch of state

    government, not county government. See Okla. Const. Art. 7, §§ 1, 6, 7, 10-11; 22 O.S. § 4A; 20

    O.S. §§ 16.1-16.7, 22-24, 91.1-126; Ch. 1, App. 2, Oklahoma Supreme Court Rules on

    Administration of Courts; Speight v. Presley, 2008 OK 99, ¶¶ 18-19, 203 P.3d 173, 178-79 (board

    of county commissioners could not be held liable for mismanagement of traffic court files because

    the responsibility for maintaining traffic files lies with the state court judge or magistrate); N. Side

    State Bank v. Bd. of Cty. Comm'rs of Tulsa Cty, 1994 OK 34, ¶ 15, 894 P.2d 1046, 1051 (actions

    of county court clerk in collecting and depositing fines, fees and costs in the court fund and

    disbursing such monies to rightful recipient were acts of the state for which board of county

    commissioners was not liable); Hindman v. Thompson, 557 F.Supp.2d 1293 (N.D. Okla. 2008)

    (state liable for torts committed by district court judge). The BOCC has no statutory duty to hire,

    train, supervise, or discipline district court judges. See 19 O.S. § 339. Each county is required to


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    provide a court room and an office for the judge of the district court, but each judge serves his or

    her judicial district, not the county. See 19 O.S. § 401; George B. Fraser, “Oklahoma’s New

    Judicial System,” 21 Okla. L. Rev. 373, 375 (1968) (“Fraser”); Okla. Const., Art. 7. Accordingly,

    the BOCC is not liable for the acts of a state district court or special judge.

           2. The BOCC is not Responsible for the Actions of Regalado

           As provided in Section IV.D of Regalado’s Motion to Dismiss, Dkt. # 272, which the

    BOCC hereby adopts and incorporates, Regalado acts not as a county actor when he releases an

    inmate from custody or detains them prior to trial, but a state actor as an arm of the state district

    court. However, even if Regalado acted in his capacity as a county official, the BOCC is still not

    responsible for his acts.

           To the extent Plaintiffs’ claims attempt to hold the BOCC responsible for Regalado

    allegedly detaining people without proper bail hearings, under Oklahoma law, a board of county

    commissioners “is statutorily separate and distinct from the independently elected sheriff.” Winters

    v. Board of County Comm’rs of Muskogee County, 633 F. App’x. 684, 690 (10th Cir. 2015)

    (unpublished); Goss v. Board of County Comm’rs of Creek County, No. 13-CV-374-CVE-TLW,

    2014 WL 4983856, *6 (N.D. Okla. Oct. 6, 2014). The authority of the Board of County

    Commissioners and the Sheriff “may be related, but they are not redundant.” Goss, 2014

    WL4983856, at *6. Pursuant to Oklahoma statutes, the sheriff is in charge of the jail and must

    comply with the rules and directions of the district court with respect to those in his custody. See

    57 O.S. § 47. On the other hand, the general powers of Commissioners do not include supervision

    or control of a jail and do not include incarceration. 19 O.S. § 339.

           “Under Oklahoma law, the county sheriff is the final policymaker as to the county jail.”

    Snow v. Bd. of Cty. Comm'rs of the Cty. of McClain, No. CIV-14-911-HE, 2014 WL 7335319, at

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    *2 (W.D. Okla. Dec. 19, 2014) (citing 19 O.S. § 513). Plaintiffs admit as much when they stated

    that “[t]he Tulsa County Sheriff is a final policymaker for Tulsa County’s post-arrest jailing

    policies and practices.” Dkt. # 259, at ¶ 18 n.3. Therefore, Plaintiffs in this case “ha[ve] no basis

    to proceed with a § 1983 claim against the Board because, as a matter of law, the Board is not a

    final policymaker for the Sheriff’s Office and it cannot be held liable to plaintiff under § 1983 for

    the acts of employees of the Sheriff’s Office.” Nelson v. Glanz, No. 11-CV-189-CVE-PJC, 2011

    WL 2144660, at *5 (N.D. Okla. May 31, 2011); see also Jantzen v. Bd. of County Comm’rs of

    Canadian County, 188 F.3d 1247, 1259 (10th Cir. 1999); Meade v. Grubbs, 841 F.2d 1512, 1528

    (10th Cir. 1988); duBois v. Payne County Bd. of County Comm'rs, 543 Fed. Appx. 841, 850 (10th

    Cir. 2013); Arnold v. Smallwood, No. 10-CV-070-GKF-TLW, 2012 WL 1657045, at *10 (N.D.

    Okla. May 10, 2012); Estate of Crowell ex rel. Boen v. Board of County Com'rs of County of

    Cleveland, 2010 OK 5, ¶ 23, 237 P.3d 134, 142.

            Oklahoma statute 19 O.S. § 4 was amended to provide that “[s]uit may be brought against

    a county by naming a county officer identified in Section 161 of this title when it is alleged that

    such officer in his or her official capacity is directly or vicariously liable to plaintiff in an action

    not arising out of contract.” The statute also provides that a court may substitute a county officer

    listed in 19 O.S. § 161 in his or her official capacity for the BOCC when the county officer is better

    suited to defend the county under the facts alleged. 19 O.S. § 4. “[C]ounty officer” means “the

    county clerk, county commissioner, county assessor, district court clerk, county treasurer and

    county sheriff.” 19 O.S. § 161.

            To the extent that Plaintiffs have sued the BOCC as “the County” under 19 O.S. § 4, they

    have already filed suit against “the County” by filing suit against the Regalado in his official

    capacity. Regalado in his official capacity represents the County and his representation of the

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    County is complete. See, e.g., Palmer v. Bd. of Cty. Comm'rs of Sequoyah Cty., No. CIV-07-012-

    RAW, 2007 WL 3407057 (E.D. Okla. Nov. 9, 2007); Birdwell v. Glanz, No. 15-CV-304-TCK-

    FHM, 2016 WL 2726929, at *8 (N.D. Okla. May 6, 2016).

           Additionally, Federal District Courts in Oklahoma have applied the amendments to 19 O.S.

    § 4 and found that:

           After [19 O.S. § 4’s] revision, it is clear that actions for alleged failure to properly
           manage a jail and/or jail staff should be brought against the sheriff of the county
           rather than the board. Plaintiff's claims against Sheriff Tidwell in his official
           capacity and those against Defendant Board are duplicative. Defendant Board's
           request for dismissal will be granted on this issue.

    Bowens v. Bd. of Cty. Commissioners of Custer Cty., Oklahoma, No. CIV-19-314-C, 2020 WL

    2892670, at *2 (W.D. Okla. June 2, 2020); see also Wirtz v. Regalado, No. 18-CV-0599-GKF-

    FHM, 2020 WL 1016445, at *6 (N.D. Okla. Mar. 2, 2020); Logan v. Regalado, No. 20-CV-303-

    GKF-FHM, 2021 WL 796144, at *3 (N.D. Okla. Mar. 2, 2021). Therefore, previous case law that

    hinged on the pre-amended 19 O.S. § 4 to hold that the BOCC must be sued under a Section 1983

    claim to bind Tulsa County is no longer good law. See e.g., duBois v. Bd. of Cty. Comm'rs of Mayes

    Cty., Oklahoma, No. 12-CV-677-JED-PJC, 2014 WL 4810332, at *6 (N.D. Okla. Sept. 29, 2014).

           Accordingly, even if this Court were to find that Regalado does not act as an arm of the

    state district court when he detains or releases arrestees, the BOCC is not responsible for

    Regalado’s actions and should be dropped as a named defendant in this case.

       C. NO POLICY OR CUSTOM OF THE BOCC CAUSED PLAINTIFFS’ ALLEGED
          HARMS

           As above, the judges of the Fourteenth Judicial District of the State of Oklahoma are the

    officials authorized under state law to establish bail policies and conditions of release for arrestees

    in the Tulsa County Jail. See supra Section IV.B. Because the state court’s policy of using secured


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    bail for arrestees at the county jail is a formal policy promulgated by state court judges through

    publication of a bail schedule, and imposing secured bail on arrest warrants and during probable

    cause determinations for crimes not on the bail schedule, Plaintiffs cannot make out a case that the

    BOCC creates, promulgates, or implements an informal custom or practice of wealth based

    detention.

           Accordingly, none of the unconstitutional policies or customs pled by Plaintiffs are those

    of the BOCC as it does not have policy making authority at the jail or in the district court.

    Therefore, the SAC is devoid of any factual assertions which would support Plaintiffs’ claim that

    a BOCC policy, practice, or custom actually caused Plaintiffs’ harm, and the BOCC should be

    dismissed.

       D. PLAINTIFFS DO NOT HAVE STANDING TO SUE THE BOCC

           Standing “is a ‘threshold issue in every case.” Board of County Comm’rs of Sweetwater

    County v. Geringer, 297 F.3d 1108, 1111 (10th Cir. 2002) (emphasis in original). “Constitutional

    standing derives from Article III of the U.S. Constitution, which restricts federal courts’

    jurisdiction to suits involving an actual case or controversy.” Id. A plaintiff must demonstrate the

    following three (3) elements to satisfy the requirements of constitutional standing:

           (1) ‘injury in fact’-meaning ‘the invasion of a legally protected interest that is (a)
           concrete and particularized, and (b) actual or imminent, not conjectural or
           hypothetical’; (2) ‘a causal relationship between the injury and the challenged
           conduct’ – meaning that the ‘injury fairly can be traced to the challenged action of
           the defendant’; and (3) ‘a likelihood that the injury will be redressed by a favorable
           decision’-meaning that the ‘prospect of obtaining relief from … a favorable ruling
           is not too speculative.’

    Id. at 1112. “The party invoking federal jurisdiction bears the burden of establishing these

    elements” and these elements are “an indispensable part of the plaintiff’s case” throughout the

    “successive stages of the litigation.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

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             As above, Plaintiffs do not have standing to sue the BOCC under § 1983 because they

    cannot meet their ongoing burden to show that the BOCC caused their alleged constitutional injury

    because the BOCC is not a policymaker, final or otherwise, related to their claimed injury of being

    subject to a wealth-based detention scheme and jailed without having had a due process compliant

    hearing that inquired into the their ability to pay bail and necessity of detention. Dkt. # 259, at ¶¶

    137, 139-40; See also Pembaur, 475 U.S. at 481, 483. Further, since the BOCC did not cause

    Plaintiffs’ claimed injuries, related to allegedly unconstitutional local bail procedures, Plaintiffs

    have not met their burden to show that there is a “causal relationship” between their claimed

    injuries and the BOCC’s conduct in order to properly establish standing to sue it for these alleged

    injuries. Geringer, 297 F.3d at 1111.

             Additionally, an injunction or declaratory judgment issued against the BOCC would not

    redress Plaintiffs’ alleged harms. See Lujan, 504 U.S. at 561. As above, the BOCC does not have

    the authority to do what Plaintiffs request. Enjoining the BOCC would have no effect on the bail

    system in Tulsa County as they have no authority to enforce any of the challenged actions.

    “The short of the matter is that redress of the only injury in fact [Plaintiffs] complain of requires

    action” by state court judges. Id. at 570–71. Accordingly, Plaintiffs have not met their ongoing

    burden to show that they have constitutional standing to bring their claims against the BOCC, and

    therefore, they should be dismissed

                                              CONCLUSION

             For these reasons set for forth above, the BOCC respectfully requests that this Court

    dismiss Plaintiffs’ claims against it with prejudice, or in the alternative, dismiss it as an improper

    party.



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                                                         Respectfully submitted,

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                       CERTIFICATE OF MAILING & ELECTRONIC NOTICE

    I hereby certify that on March 31, 2021, I electronically transmitted the foregoing document to the
    Clerk of the Court using the ECF System for filing and transmittal of a Notice of Electronic Filing
    to the following ECF registrants:

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           Stevie DeGroff
           Vassi Iliadis


                                                         s/Mike Shouse
                                                         Mike Shouse


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